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                                                                                  55
 Fill in this information to identify your case:


 Debtor 1           Joseph   Walker
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ___________________________________________
                                             Eastern District of Pennsylvania
 Case number         19-12097
                     ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                    Employed
     employers.                                                         Not employed                               FillNot
                                                                                                                          outemployed
                                                                                                                             this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  __________________________________
                                                                      Car technician                              __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            __________________________________
                                                                     Jiffy Lube                                   __________________________________


                                          Employer’s address        5010 City Ave
                                                                   ________________________________________     ________________________________________
                                                                     Number Street                               Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                    Philadelphia, PA 19131
                                                                   ________________________________________     ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______
                                                                           One year                                _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.                              0.00
                                                                                               1,649.31
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                9.04              + $____________
                                                                                                                     0.00

  4. Calculate gross income. Add line 2 + line 3.                                       4.     1,658.35
                                                                                              $__________               0.00
                                                                                                                       $____________




Official Form 106I
                                                          Walker  Proffer 000001
                                                            Schedule I: Your Income                                                              page 1
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                                                                                                  55
Debtor 1          Joseph Walker
                  _______________________________________________________                                                                         19-12097
                                                                                                                            Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.     $___________
                                                                                                                             1,658.35              $_____________
                                                                                                                                                    0.00

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.     $____________
                                                                                                                            159.16                 $_____________
                                                                                                                                                    0.00
      5b. Mandatory contributions for retirement plans                                                             5b.     $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
      5c. Voluntary contributions for retirement plans                                                             5c.     $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
      5d. Required repayments of retirement fund loans                                                             5d.     $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
      5e. Insurance                                                                                                5e.     $____________
                                                                                                                            0.99                   $_____________
                                                                                                                                                    0.00
      5f. Domestic support obligations                                                                             5f.     $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
      5g. Union dues                                                                                               5g.     $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                             0.00               + $_____________
                                                                                                                                                   0.00
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.     $____________
                                                                                                                            160.15                 $_____________
                                                                                                                                                    0.00

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________
                                                                                                                            1,498.20               $_____________
                                                                                                                                                    0.00

  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
                                                                                                                           $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.     $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                           $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.     $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
      8e. Social Security                                                                                          8e.     $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                           $____________           $_____________
                                                                                                                                                    0.00
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.     $____________
                                                                                                                            0.00                   $_____________
                                                                                                                                                    0.00
      8h. Other monthly income. Specify: _______________________________
                                         See Attachment 1                                                          8h.    + $____________
                                                                                                                             700.00              + $_____________
                                                                                                                                                    0.00
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.     $____________
                                                                                                                            700.00                 $_____________
                                                                                                                                                    0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.    $___________
                                                                                                                            2,198.20        +      $_____________
                                                                                                                                                    0.00                 = $_____________
                                                                                                                                                                            2,198.20

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                             0.00
                                                                                                                                                                   11. + $_____________

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.      2,198.20
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
           No.
      
      X     Yes. Explain:        See Attachment 2

  Official Form 106I
                                                                           Walker  Proffer 000002
                                                                             Schedule I: Your Income                                                                        page 2
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                                                 Attachment
                                    Debtor: Joseph Walker Case No: 19-12097


Attachment 1
     Contribution from Tina Sloan, mother of debtor's daughter with whom debtor lives
Attachment 2
     Debtor expects to receive a raise in the next within the few months of about $1.50 an hour which will increase his income by more than 10%. He
     expects another similar raise abut 6 months after that.




                                                      Walker Proffer 000003
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                                                                                    55
 Fill in this information to identify your case:

 Debtor 1          Joseph Walker
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
 United States Bankruptcy Court for the: ______________________________________
                                             Eastern District of Pennsylvania                              expenses as of the following date:
                                                                                                           ________________
 Case number         19-12097
                     ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                 Dependent’s    Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                        age            with you?
    Debtor 2.                                    each dependent .........................
                                                                                                                                                  No
    Do not state the dependents’                                                    _________________________
                                                                                    Daughter                                    ________
                                                                                                                                15
    names.                                                                                                                                     
                                                                                                                                               X   Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                                No
    yourself and your dependents?           
                                            X    Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   0.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      84.80
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      100.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      20.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Walker
                                                              Schedule J:Proffer   000004
                                                                         Your Expenses                                                              page 1
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Debtor 1         Joseph  Walker
                 _______________________________________________________                                       19-12097
                                                                                         Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                     Your expenses

                                                                                                                    $_____________________
                                                                                                                     0.00
 5. Additional mortgage payments for your residence, such as home equity loans                               5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                   6a.    $_____________________
                                                                                                                     150.00
      6b.   Water, sewer, garbage collection                                                                 6b.    $_____________________
                                                                                                                     80.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                   6c.    $_____________________
                                                                                                                     100.00
      6d.   Other. Specify: _______________________________________________                                  6d.    $_____________________
                                                                                                                     0.00
 7. Food and housekeeping supplies                                                                           7.     $_____________________
                                                                                                                     425.00
 8. Childcare and children’s education costs                                                                 8.     $_____________________
                                                                                                                     0.00
 9. Clothing, laundry, and dry cleaning                                                                      9.     $_____________________
                                                                                                                     50.00
10.   Personal care products and services                                                                    10.    $_____________________
                                                                                                                     75.00
11.   Medical and dental expenses                                                                            11.    $_____________________
                                                                                                                     13.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                    $_____________________
                                                                                                                     125.00
      Do not include car payments.                                                                           12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                     13.    $_____________________
                                                                                                                     30.00
14.   Charitable contributions and religious donations                                                       14.    $_____________________
                                                                                                                     0.00
                                                                                                                                                  16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                    15a.   $_____________________
                                                                                                                     0.00
      15b. Health insurance                                                                                  15b.   $_____________________
                                                                                                                     0.00
      15c. Vehicle insurance                                                                                 15c.   $_____________________
                                                                                                                     0.00
      15d. Other insurance. Specify:_______________________________________                                  15d.   $_____________________
                                                                                                                     0.00

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                    $_____________________
                                                                                                                     0.00
      Specify: ________________________________________________________                                      16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                        17a.   $_____________________
                                                                                                                     0.00
      17b. Car payments for Vehicle 2                                                                        17b.   $_____________________
                                                                                                                     0.00
      17c. Other. Specify:_______________________________________________
                          Adequate Protection Payment to M&T Bank                                            17c.   $_____________________
                                                                                                                     686.21
      17d. Other. Specify:_______________________________________________
                          Add paymnt to M&T upon confirmation                                                17d.   $_____________________
                                                                                                                     214.00

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.
                                                                                                                    $_____________________
                                                                                                                     0.00
19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                         19.   $_____________________
                                                                                                                     0.00

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                       20a.    0.00
                                                                                                                    $_____________________

      20b. Real estate taxes                                                                                 20b.    0.00
                                                                                                                    $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                      20c.    0.00
                                                                                                                    $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                          20d.    0.00
                                                                                                                    $_____________________

      20e. Homeowner’s association or condominium dues                                                       20e.    0.00
                                                                                                                    $_____________________



  Official Form 106J                                          Walker
                                                              Schedule J:Proffer   000005
                                                                         Your Expenses                                                   page 2
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  Debtor 1         Joseph  Walker
                   _______________________________________________________                      Case number (if known)19-12097
                                                                                                                      _____________________________________
                   First Name    Middle Name       Last Name




  21.    Other. Specify: See
                         _________________________________________________
                             Attachment 1                                                                           21.   +$_____________________
                                                                                                                            30.00

  22.    Calculate your monthly expenses.                                                                                  $_____________________
                                                                                                                            2,183.01
         22a. Add lines 4 through 21.
         22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $_____________________
         22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.    $_____________________
                                                                                                                            2,183.01


  23. Calculate your monthly net income.
                                                                                                                            $_____________________
                                                                                                                             2,198.20
        23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

        23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                             2,183.01

        23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                            $_____________________
                                                                                                                             15.19
               The result is your monthly net income.                                                              23c.




  24. Do you expect an increase or decrease in your expenses within the year after you file this form?

        For example, do you expect to finish paying for your car loan within the year or do you expect your
        mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

        
        X   No.
           Yes.      Explain here:




      Official Form 106J                                       Walker
                                                               Schedule J:Proffer   000006
                                                                          Your Expenses                                                         page 3
See
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                                                  Attachment
                                     Debtor: Joseph Walker Case No: 19-12097


Attachment 1
     Description: Cat Food and Kitty Litter
     Amount: 20.00

     Description: Daughter's School Uniforms
     Amount: 10.00

Attachment 2: Additional Notes
     Debtor lives with his daughter and the mother of his daughter. They share expenses and a contribution from his daughter's mother, including
     her food stamp income, is included as part of the household income.




                                                       Walker Proffer 000007
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                                      Walker Proffer 000009
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Subject: FW: PMAP - Joseph Walker App ID # 8826
Date: Wednesday, December 2, 2020 at 4:39:00 PM Eastern Standard Time
From: Joyce Smith
To:      Irwin Trauss



Joyce Smith
Paralegal Consumer Housing Unit (working remotely – Tuesday, Wednesday, Thursday only)
Philadelphia Legal Assistance
718 Arch Street, Suite 300N
Phila., PA 19106-1535
215-981-3824 (leave a message with best Yme to return call)
215-981-3970/60 (fax)
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From: Toia, Lori <ltoia@phfa.org>
Sent: Wednesday, December 2, 2020 4:38 PM
To: Joyce Smith <jsmith@philalegal.org>
Subject: RE: PMAP - Joseph Walker App ID # 8826

Hi Joyce. Unfortunately, M&T noYﬁed us that they were unable to able to apply the PMAP funds to the
speciﬁed assistance period of 3/2020 – 8/2020 since the delinquency goes back to prior to March 2020.
PMAP funds must be applied to months owed between March 2020 and December 2020 (up to a maximum
of 6 months).

I’m sorry we couldn’t assist. A rescission le]er was sent on 11/25/2020.



__________________________________
Lori Toia
Director of HEMAP
Pennsylvania Housing Finance Agency
Phone: 717.780.3945 | Fax: 717.614.2744
800.342.2397
www.phfa.org

All PHFA housing programs are fully operaYonal during the pandemic.

From: Joyce Smith <jsmith@philalegal.org>


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Sent: Wednesday, December 2, 2020 4:19 PM
To: Toia, Lori <ltoia@phfa.org>
Subject: PMAP - Joseph Walker App ID # 8826
Importance: High


IMPORTANT - External Email - Please use cauMon.




Joseph Walker
6715 Haverford Ave
Phila., PA 19151


Good Akernoon Ms. Toia

Our client received a PMAP noYce that money was being sent to his lender; however the amount was not
set forth. We have a bankruptcy hearing tomorrow (12/3/2020) on a moYon for relief and need to verify
that the Lender MT&T bank received the money.
We would appreciate your assistance in this criYcal situaYon.

Thank for your assistance.



Joyce Smith
Paralegal Consumer Housing Unit (working remotely – Tuesday, Wednesday, Thursday only)
Philadelphia Legal Assistance
718 Arch Street, Suite 300N
Phila., PA 19106-1535
215-981-3824 (leave a message with best Yme to return call)
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            BENEFIT PAYMENT HISTORY

                Important
                If the Method of Payment is blank for recently processed weeks, we are in the process of updating our database. Please visit
                us again today after 3:00 PM. If 10 days or more have elapsed from the Payment Issue Date and you have not received the
                check, click on the "Check" hyperlink for the week you feel you may be missing to learn of the status of payment.

                These payments may reﬂect amounts paid below your weekly beneﬁt rate because of Federal Withholding, Support
                Withholding, and similar type deductions as shown, if applicable. Click on Remaining Balance for more information.



                ATTENTION: You can check if your UC beneﬁts are available to you now. Debit card users can login to
                www.usbankreliacard.com or by calling US Bank directly at 888-233-5916 in order to obtain payment information such as
                account balance, transaction history, etc. Direct deposit users should contact their ﬁnancial institution in order to obtain
                information on deposited beneﬁts by any of the following methods available: online, mobile banking, ATM network, self-
                service telephone, customer service lines.
                Payments are generally available within two business days of the Payment Issue Date. For example, if the Payment Issue Date
                is Monday begin checking with US Bank or your ﬁnancial institution on Wednesday. Please note that holidays and weekends
                will cause delays in payment availability.



            Claimant Name                                                                 Social Security Number
            JOSEPH WALKER                                                                 XXX-XX-8902

            AB Date                                                                       Program Type

            06/28/2020                                                                    UC


             Week Ending Date               Payment Number   Status                       Amount Paid        Method of Payment     Payment Issue Date 

             01/02/2021                                       Beneﬁt Reduction            $6.00

             01/02/2021                      00020513         Paid                        $217.00             Debit Card          01/08/2021

             01/02/2021                      09999991         Federal Withholding         $25.00

             12/26/2020                      09999991         Federal Withholding         $25.00

             12/26/2020                      00020512         Paid                        $217.00             Debit Card          01/08/2021

             12/26/2020                                       Beneﬁt Reduction            $6.00

             12/19/2020                                       Beneﬁt Reduction            $6.00

             12/19/2020                      00020512         Paid                        $217.00             Debit Card          01/08/2021

             12/19/2020                      09999991         Federal Withholding         $25.00

             12/12/2020                      09999991         Federal Withholding         $25.00

             12/12/2020                      00020510         Paid                        $217.00             Debit Card          01/08/2021

             12/12/2020                                       Beneﬁt Reduction            $6.00

             12/05/2020                                       Beneﬁt Reduction            $6.00

             12/05/2020                      00020510         Paid                        $217.00             Debit Card          01/08/2021

             12/05/2020                      09999991         Federal Withholding         $25.00

             11/28/2020                      09999991         Federal Withholding         $25.00

             11/28/2020                      00020508         Paid                        $217.00             Debit Card          01/08/2021


https://www.paclaims.pa.gov/uccc/BenefitCheck.asp
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             Week Ending Date               Payment Number   Status                       Amount Paid        Method of Payment     Payment Issue Date 

             11/28/2020                                       Beneﬁt Reduction            $6.00

             11/21/2020                                       Beneﬁt Reduction            $6.00

             11/21/2020                      00020508         Paid                        $217.00             Debit Card           01/08/2021

             11/21/2020                      09999991         Federal Withholding         $25.00

             11/14/2020                      09999991         Federal Withholding         $25.00

             11/14/2020                      00020506         Paid                        $217.00             Debit Card           01/08/2021

             11/14/2020                                       Beneﬁt Reduction            $6.00

             11/07/2020                                       Beneﬁt Reduction            $6.00

             11/07/2020                      00020506         Paid                        $217.00             Debit Card           01/08/2021

             11/07/2020                      09999991         Federal Withholding         $25.00

             08/22/2020                      09999991         Federal Withholding         $25.00

             08/22/2020                      06542474         Paid                        $217.00             Debit Card           12/12/2020

             08/22/2020                                       Beneﬁt Reduction            $6.00

             08/15/2020                                       Beneﬁt Reduction            $6.00

             08/15/2020                      06542474         Paid                        $217.00             Debit Card           12/12/2020

             08/15/2020                      09999991         Federal Withholding         $25.00

             08/08/2020                      09999991         Federal Withholding         $25.00

             08/08/2020                                       Beneﬁt Reduction            $6.00

             08/08/2020                      06542472         Paid                        $217.00             Debit Card           12/12/2020

             08/01/2020                      06542472         Paid                        $217.00             Debit Card           12/12/2020

             08/01/2020                                       Beneﬁt Reduction            $6.00

             08/01/2020                      09999991         Federal Withholding         $25.00

             07/25/2020                      09999991         Federal Withholding         $25.00

             07/25/2020                                       Beneﬁt Reduction            $6.00

             07/25/2020                      06542470         Paid                        $217.00             Debit Card           12/12/2020

             07/18/2020                      06542470         Paid                        $217.00             Debit Card           12/12/2020

             07/18/2020                                       Beneﬁt Reduction            $6.00

             07/18/2020                      09999991         Federal Withholding         $25.00

             07/11/2020                      09999991         Federal Withholding         $25.00

             07/11/2020                                       Beneﬁt Reduction            $6.00

             07/11/2020                      06542468         Paid                        $217.00             Debit Card           12/12/2020

             07/04/2020                      06542468         Paid                        $217.00             Debit Card           12/12/2020

             07/04/2020                                       Beneﬁt Reduction            $6.00

             07/04/2020                      09999991         Federal Withholding         $25.00




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